                               UNITED STATES DISTRICT COURT

                                       DISTRICT OF ALASKA



USA
                                                                Case No. 3:20-mj-00289-MMS-1

                                 Plaintiff(s),            MOTION AND APPLICATION OF
                         vs.                              NON-ELIGIBLE ATTORNEY FOR
Zheng Song Guo                                             PERMISSION TO APPEAR AND
                                                              PARTICIPATE IN THE
                                                         UNITED STATES DISTRICT COURT
                                 Defendant(s).            FOR THE DISTRICT OF ALASKA


        To the Honorable Judge of the above-entitled court:

        I, Daniel J. Collins                           , hereby apply for permission to appear and
                (name)
participate as counsel for Zheng Song Guo                               , defendant                  ,
                                (Name of party)                             (plaintiff/defendant)
in the above-entitled cause pursuant to Rule 83. of the Local Rules for the United States

District Court, District of Alaska.

        I hereby apply for permission to appear and participate as counsel WITHOUT

ASSOCIATION of local counsel because [check whichever of the following boxes apply, if

any]:

        I am a registered participant in the CM/ECF System for the District of Alaska and consent

        to service by electronic means through the court's CM/ECF System.

        I have concurrently herewith submitted an application to the Clerk of the Court for

        registration as a participant in the CM/ECF System for the District of Alaska and consent

        to service by electronic means through the court's CM/ECF System.

        For the reasons set forth in the attached memorandum.
                                                OR

        I hereby designate                                     , a member of the Bar of this court,
                                      (Name)
who maintains an office at the place within the district, with whom the court and opposing

counsel may readily communicate regarding conduct of this case.

        DATE: May 25, 2020


                                                                     (Signature)
                                                                    Daniel J. Collins
                                                                     (Printed Name)


                                                      191 North Wacker Drive, Suite 3700
                                                                     (Address)

                                                      Chicago, Illinois, 60606
                                                                     (City/State/Zip)

                                                      312-569-1358
                                                                     (Telephone Number)


                                                      daniel.collins@faegredrinker.com
                                                                     (e-mail address)


                                    Consent of Local Counsel*

        I hereby consent to the granting of the foregoing application.

DATE:

                                                                     (Signature)



                                                                     (Printed Name)



                                                                     (Address)



                                                                     (City, State, Zip)



                                                                     (Telephone)


        (*Member of the Bar of the United States District Court for the District of Alaska)
                              DECLARATION OF NON-ELIGIBLE ATTORNEY
Full Name: Daniel John Collins
Business Address: 191 North Wacker Drive, Suite 3700                     , Chicago, Illinois 60606
                                         (Mailing/Street)                                 (City, State, ZIP)
Residence:             562 Park Avenue                                   , River Forest, Illinois 60305
                                         (Mailing/Street)                                 (City, State, ZIP)
Business Telephone: 312-569-1358                            e-mail address: daniel.collins@faegredrinker.c
Other Names/Aliases:
Jurisdictions to Which Admitted and year of Admission:
Northern District of Illinois             219 South Dearborn Street, Chicago, IL 60604                         1994
             (Jurisdiction)                                          (Address)                                 (Year)
Central District of Illinois              201 S. Vine Street, Urbana, IL 61802                                 2019
             (Jurisdiction)                                          (Address)                                 (Year)
Nebraska                                  111 South 18th Plaza, Omaha, NE 68102                                2014
             (Jurisdiction)                                          (Address)                                 (Year)
Southern District of New York             500 Pearl Street, New York, NY 10007                                 2019
             (Jurisdiction)                                          (Address)                                 (Year)

Are you the subject of any pending disciplinary proceeding in any jurisdiction to which admitted?
Yes          No             (If Yes, provide details on a separate attached sheet)
Have you ever been suspended from practice or disbarred in any jurisdiction to which admitted?
Yes          No             (If Yes, provide details on a separate attached sheet)
In accordance with /RFDO5XOH 83.1, I certify I have read the District of Alaska localrules by
visiting the court's website at http://www.akd.uscourts.gov and understand that the practicesand
procedures of this court may differ from the practices and procedures in the courts to which Iam
regularly admitted.
A Certificate of Good Standing from a jurisdiction to which I have been admitted is attached.
Pursuant to 28 U.S.C. §1746, I hereby declare under penalty of perjury that the foregoing
information is true, correct, and accurate.
Dated: May 25, 2020

                                                                                 (Signature of Applicant)
